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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION

JAC’QUANN (ADMIRE)
HARVARD, et al.,
      Plaintiffs,
v.                                               Case No. 4:19-cv-212-AW-MAF
MARK INCH, Secretary of Florida
Department of Corrections, et al.,
     Defendants.
_______________________________/
      ORDER GRANTING MOTION FOR RULE 35 EXAMINATIONS

      This lawsuit challenges the Florida Department of Corrections’ use of solitary

confinement. Defendants moved for an order permitting mental health examinations

of seven named plaintiffs.1 ECF No. 280. The proposed examination conditions are

outlined in an attachment to the motion. ECF No. 280-2. Plaintiffs oppose these

exams and contend that there is no good cause or genuine controversy to warrant

them. ECF No. 287. Additionally, Plaintiffs seek to limit the exams if they are

permitted. Id. at 14-19.




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        Defendants’ motion requested an examination of Amy Ferguson, ECF
No. 280 at 1, but her claims have been dismissed, ECF No. 333. Since Ferguson is
no longer a party, this order does not apply to her.
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I.     STANDARD

       “On a motion for good cause,” Federal Rule of Civil Procedure 35 allows a

court to “order a party whose mental or physical condition . . . is in controversy to

submit to a physical or mental examination by a suitably licensed or certified

examiner.” Fed. R. Civ. P. 35(a)(1), (a)(2)(A). The moving party must demonstrate

that both the in-controversy and good-cause requirements are met. Schlagenhauf v.

Holder, 379 U.S. 104, 118-19 (1964). And “[m]ental and physical examinations are

only to be ordered upon a discriminating application by the district judge of the

limitations prescribed by the Rule.” Id. at 121. Finally, an order requiring an exam

“must specify the time, place, manner, conditions, and scope of the examination, as

well as the person or persons who will perform it.” Fed. R. Civ. P. 35(a)(2)(B).

II.    ANALYSIS

       A.    “In Controversy”

       Plaintiffs’ mental condition is not “in controversy” merely because it is

relevant to the case. Rather, the mental condition must be “really and genuinely in

controversy.” Schlagenhauf, 379 U.S. at 118. To find that a mental condition is in

controversy, district courts generally look for a claim of emotional distress

accompanied by “an allegation of specific mental or psychiatric injury or disorder”;

“a claim of unusually severe emotional distress”; “plaintiff’s offer of expert

testimony to support a claim of emotional distress”; or “any allegation of present,


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ongoing, or permanent mental injury or disorder.” Winstead v. Lafayette Cnty. Bd.

of Cnty. Comm’rs, 315 F.R.D. 612, 614 (N.D. Fla. 2016) (marks and citation

omitted). This list, though, is not exhaustive. Id. at 615.

       Here, Plaintiffs have alleged present, ongoing, or permanent mental injuries,

and their claim of deliberate indifference involves an allegation of unusually severe

emotional distress. See, e.g., ECF No. 309 ¶ 15 (“In isolation, Ms. Harvard suffered

from ongoing severe mental health symptoms, including hallucinations, delusions,

and suicidality.”); ¶ 21 (“As a result of the severe deprivations of exercise, mental

stimulation, and normal social contact in isolation, J.H. has no release for his

adolescent energy and his mental health deteriorates.”); ¶ 27 (“Mr. Espinosa is afraid

of dying of cancer and the lack of in-cell activities left little else to think about while

locked in a tiny cell. He often thought about suicide in isolation. His depression and

mood swings worsened in isolation, prompting Defendants to increase his

psychiatric medications but otherwise providing no meaningful mental health

services.”); ¶ 39 (“When Defendants isolated Mr. Kendrick in June 2018, they

determined he had no mental health symptoms. But after months of suffering

deprivations of basic human needs in isolation, he has become anxious and

depressed and has contemplated suicide. . . . [H]is depression continues to worsen

in isolation.”); ¶ 41 (“Mr. Hill is legally blind and suffers from severe mental health

symptoms including hallucinations and suicidality.”); ¶ 45 (“Throughout his decade

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in isolation, Mr. Hill has experienced severe symptoms arising from his deteriorating

mental health. He has harmed himself by cutting his arms and neck and attempting

to hang himself multiple times. After years in isolation, Mr. Hill swallowed a razor

blade, which resulted in an esophageal tear and required medical treatment.”); ¶ 55

(“FDC has diagnosed Ms. Dean with borderline personality disorder, post-traumatic

stress disorder (PTSD) and bipolar disorder. While in isolation, she has experienced

anxiety, depression, panic attacks, manic episodes, auditory and visual

hallucinations, insomnia, and suicidality.”); ¶ 58 (“While in isolation, Ms. Dean has

engaged in self-harm by frequently cutting herself and attempting suicide at least

three times in her isolation cell. . . . [H]er symptoms became so severe that FDC was

forced to hospitalize her until the present date.”); ¶ 68 (“The most widely

documented consequences of isolation are its psychological effects. . . . The

psychological effects include anxiety, depression, insomnia, confusion, withdrawal,

emotional flatness, cognitive disturbances, hallucinations, paranoia, psychosis, and

suicidality.”); ¶ 80 (“[Isolation] is a form of psychological torture, inflicts

psychological and physical pain, and exposes everyone to a substantial risk of

serious harm.”).

      In addition, Plaintiffs will offer expert testimony to support their claims of

emotional harm. And their expert acknowledged that “evaluation of this risk of harm

to a sample of individuals who have experienced restrictive housing such as the

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named plaintiffs is essential for [her] to formulate [her] opinion.” ECF No. 287-2

¶ 7. It is reasonable that Defendants’ expert needs to perform an evaluation to form

his opinion in response.

      Plaintiffs argue that the named Plaintiffs’ individual mental conditions are not

in controversy because “[t]he primary controversy in this systemic challenge is

whether Defendants are deliberately indifferent to a substantial risk of serious harm

to everyone in isolation.” ECF No. 299 at 6. This is unpersuasive. Plaintiffs have

cited nothing to suggest that mental condition must be the primary controversy. As

discussed above, Plaintiffs’ claims involve allegations of unusually severe emotional

distress and present and ongoing mental injuries. Therefore, Plaintiffs’ mental

conditions are in controversy within the meaning of Rule 35. These mental

conditions clearly exceed the “merely relevant” threshold even if they fall short of

being the primary controversy.

      B.     “Good Cause”

      Rule 35’s good-cause requirement is separate from its in-controversy

requirement, but the two inquiries are “necessarily related.” Schlagenhauf, 379 U.S.

at 119. The court examines both relevance and need to determine whether the

movant has shown good cause. Pearson v. Norfolk-S. Ry. Co., 178 F.R.D. 580, 582

(M.D. Ala. 1998). Relevance was discussed above, so “[t]he question is whether

there is a need for the information which the examination may reveal.” Id.; see also


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Brennan v. Thomas, 780 F. App’x 813, 819 (11th Cir. 2019) (upholding finding of

no good cause where movant didn’t show that the examination sought “would add

anything to the information already available to him.”). Both “[t]he ability of the

movant to obtain the desired information by other means” and whether plaintiff

intends to offer expert testimony to prove their claims are relevant to need.

Schlagenhauf, 379 U.S. at 118 (1964); see also Ornelas v. S. Tire Mart, LLC, 292

F.R.D. 388, 392 (S.D. Tex. 2013) (“courts have continually looked to whether the

plaintiff has retained his own experts, and whether he intends to prove his claims

through their testimony at trial, as relevant to a finding of ‘good cause.’” (citations

omitted)).

      Defendants argue that Plaintiffs’ mental health records and deposition

testimony cannot serve as a substitute for a clinical interview. ECF No. 296 at 3-6.

Dr. Saathoff, Defendants’ expert, stated both that he has “reviewed the relevant

mental health and medical records of the named plaintiffs in this case” (ECF

No. 296-1 ¶ 6) and that this review “is not sufficient on its own, to assess the impact

of restrictive housing on [named plaintiffs]” (id. ¶ 16). Similarly, he stated that

“relying on the named plaintiffs’ deposition testimony is insufficient,” and he noted

that “the goals of the two processes are different.” Id. ¶¶ 18, 19. Finally, Dr. Saathoff

stated that “the American Academy of Psychiatry and Law Practice Guideline for

the Forensic Assessment states that if [his] assessment is based only upon a records

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review without an interview, this limitation must be indicated in any report [he]

compile[s].” Id. ¶ 17.

        Defendants have demonstrated good cause. Plaintiffs’ expert intends to offer

opinions related to “the risk of harm to prisoners in FDC restrictive housing.” ECF

No. 287-2 ¶ 6. And she has interviewed Plaintiffs for this purpose. Id. Defendants

intend to offer expert testimony in response to Plaintiffs’ expert testimony. And

Defendants’ expert intends to opine on the “effects restrictive housing has on [named

plaintiffs’] mental health statuses.” ECF No. 296-1 ¶ 12. Defendants’ expert

considers a clinical exam an important part of forming his opinions and preparing

an expert report. And he does not view evidence from other sources to be an adequate

substitute for this exam. Id ¶¶ 12-16. In short, Defendants have shown that they have

a need for the information to be obtained by Dr. Saathoff’s clinical examination and

that this information cannot be obtained by other means.2

III.    EXAMINATION CONDITIONS & SCOPE

        Plaintiffs request that (1) the exams be limited to two hours; (2) that a

paralegal from Plaintiffs’ team sit outside the examination room to observe; and (3)

that the scope of the exams be limited.



        That Plaintiffs’ expert does not consider psychiatric evaluations necessary
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in forming her opinions, does not change the analysis. Defendants’ expert should not
be precluded from accessing information he views as necessary to form his opinion
simply because Plaintiffs’ expert disagrees.
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      A.      Timing

      Plaintiffs request that the exams be limited to two hours. ECF No. 287 at 15.

Plaintiffs contend that the exams should not be seven hours because this is

essentially “the equivalent of a second deposition of each of the named Plaintiffs

under the veil of a Rule 35 examination.” Id. And Plaintiffs’ expert stated that

“taking hours and hours seems excessive and unnecessary to elicit the information

that is already contained in the medical/mental health and correctional records.” ECF

No. 287-2 ¶ 9.

      On the other hand, Defendants request that seven hours be allotted for the

exams, which they contend is reasonable. ECF No. 280 at 22. Defendants’ expert

stated that

      developing this rapport takes time, often at least a few hours, and it is
      difficult to state in advance how long these examinations will last.
      However, I believe seven hours with each individual will be a sufficient
      amount of time to obtain the necessary information. Clinical
      examinations that I have conducted in other cases have required up to
      14 hours.

ECF No. 280-5 ¶ 15. He also stated that “having the full seven hours for each

examination, although [he] may not need that much time with every inmate, will

assist [him] in preparing [his] ultimate report.” ECF No. 296-1 ¶ 21.

      Plaintiffs have not shown that seven hours is unreasonable. Notably,

Plaintiffs’ expert does not contend that psychological examinations cannot or should

not last seven hours—or that she has never conducted an exam that long. Plaintiffs’

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expert simply concludes that the amount of time “seems excessive and unnecessary.”

ECF No. 287-2 ¶9. This is not enough to find that seven hours is unreasonable. This

is particularly so considering Defendants’ expert’s statements to the contrary.

      Dr. Saathoff may conduct psychological exams that last up to seven hours

with the understanding that “[f]ood, water, restroom, and comfort breaks will be

given as needed” (ECF No. 280-4 at 8) and the examination will conclude early if

Dr. Saathoff is able to “complete the interview more quickly” (ECF No. 296-1 ¶ 21).

      B.     Presence of Observer

      Plaintiffs argue that “[t]here are special circumstances in this case that justify

the presence of a paralegal outside of the examination room during the

examinations.” ECF No. 287 at 18. Further, Plaintiffs contend that an audio

recording of the examination is insufficient because it “will not capture what

happens as named Plaintiffs are brought into the examination room, how they are

restrained, whether they receive food and water, and what happens as they leave the

room.” Id. at 19. Defendants argue that the presence of a paralegal is unnecessary

and has the potential to impact the reliability of the exams. ECF No. 296 at 10-12.

      Defendants’ expert expressed concern about Plaintiffs’ observer request. ECF

No. 296-1 ¶¶ 22-29. For example, Dr. Saathoff takes issue with the request because

it “deviates from the procedures [he is] familiar with,” has the potential to be

distracting or disruptive, “will give the inmate a sense he needs to be protected from


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[Dr. Saathoff] somehow,” and “may give the individual the perception that what is

being said can be heard by the outside paralegal.” Id. Plaintiffs ague that “[i]f

anything, the presence of a representative from Plaintiffs’ legal team is more likely

to reduce a named Plaintiff[’s] anxiety related to the exam and make the process go

more smoothly.” ECF No. 299 at 12. But they provide no basis or expert testimony

to support this conclusion. Plaintiffs state that

      [t]he paralegal will not interject legal objections to the line of
      questioning or otherwise interfere with the examination. The paralegal
      can be positioned outside the examination room, out of Plaintiffs’ view,
      to observe the interactions between Plaintiffs and officer(s) present.
      Plaintiffs’ counsel will ensure that each named Plaintiff understands
      why a paralegal is present and the limitations of their role.

Id. at 13. Although this suggestion seems to address many of Dr. Saathoff’s

concerns, it does not address his concerns about the paralegal’s presence altering the

named Plaintiffs’ perception of his trustworthiness or being distracting during

breaks. ECF No. 296-1 ¶¶ 27-29. In contrast, Dr. Saathoff has addressed Plaintiffs’

concerns by stating that “the level of restraints the individuals are being held in, and

how the individuals are brought into and out of the room” will be included in his

report and “[i]t would violate [his] ethical duty as a practitioner to allow these

individuals to be treated inhumanely while [he is] examining them.” Id. at 23-24.3


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        Plaintiffs also argue that Dr. Saathoff “may not understand the meaning of
communications or actions by prison staff that Plaintiffs would interpret as a threat.”
ECF No. 299 at 12. But it is not clear why a paralegal from Plaintiffs’ team would
be better situated to understand coded communications between prisoners and staff.
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      As Plaintiffs acknowledge, the issue of who may attend a Rule 35 examination

is left to my discretion. ECF No. 287 at 17 (citing Goggins v. State Farm Mut. Aut.

Ins. Co., 2011 WL 1660609, *2 (M.D. Fla. May 3, 2011)). The examinations will be

captured via audio recording. And Dr. Saathoff has an ethical duty to prevent

inhumane treatment during his examinations. Considering the safeguards that

already exist, the risk that the presence of a third-party observer will disrupt or

impact the reliability of the exam is not outweighed by any special circumstance in

this case. The request to have a third-party observer at the examination is denied.

      C.     Scope

      The parties also have remaining disputes about the scope of the exam. These

disputes include the breadth of Defendants’ proposed topic list, whether questions

about named Plaintiffs’ disciplinary reports should be asked, and whether all tests to

be performed should be disclosed in advance. The parties must promptly confer

about these remaining disputes in light of the rest of this order. No later than 14 days

from today’s date, the parties must file a joint notice indicating the results of their

conferral and the proposed scope of the exam (and whether it is agreed). If there is

disagreement, the notice must set out each side’s position on each disputed issue.

The court will modify its order as appropriate based on the joint filing.

      SO ORDERED on October 22, 2021.

                                        s/ Allen Winsor
                                        United States District Judge
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